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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

MILLICENT CARVALHO-GREVIOUS,                         )
                                                     )
                      Plaintiff,                     )
                                                     )
       v.                                            )       C.A. No. 13-1386
                                                     )
DELAWARE STATE UNIVERSITY,                           )
JOHN AUSTIN, and ALTON THOMPSON                      )
                                                     )
                      Defendants.                    )
~~~~~~~~~~~~~~~~~.)

                                       MEMORANDUM

I.     INTRODUCTION

       The plaintiff, Millicent Carvalho-Grevious ("(}revious"), filed a Complaint (D.I. 1) against

Delaware State University ("DSU"), John Austin ("Austin"), and Alton Thompson ("Thompson")

(collectively, "Defendants") on August 2, 2013. Grevio:us filed a First Amended Complaint (D.I.

7) on September 25, 2013, and a Second Amended Complaint (D.I. 18) on October 27, 2014.

Grevious alleges that the Defendants unlawfully retaliated against her, in violation of Title VII of

the Civil Rights Act of 1964, 42 U.S.C. §§ 2000e et seq. ("Title VII") as to DSU, and in violation

of 42 U.S.C. § 1981 as to Austin and Thompson. (D.I. 18 at       iii! 38,   40.) On June 5, 2015, the

Defendants filed a Motion for Summary Judgment (D.L 35), asserting that Grevious cannot

succeed on her claims because she cannot satisfy the "but for" standard of causation (id. at 1). For

the reasons that follow, the court will grant the Defendants' motion.

II.    BACKGROUND

       A. Grevious begins work at DSU

       On August 16, 2010, DSU hired Grevious as an Associate Professor and Chairperson of

the Department of Social Work. (D.I. 37, Ex. 2.) The faculty position was tenure-track, and the
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Chairperson position was a one-year appointment. (D.I. 42, Ex. B at 4-5.) Her duties as

Chairperson included "managing the academic department, administering department matters,

running department faculty meetings and such other duties as customarily held by a faculty chair."

(Id.) She reported to Austin, who was then interim Dean of the college of Education, Health and

Public Policy, and Austin reported to Thompson, the University Provost. (D.I. 36 at 4.) Grevious

met regularly with Austin. (D.I. 42, Ex. A at 215:22-216:13.)

       Not long after Grevious began working at DSU, conflicts arose between her and several

Department faculty and staff. (See D.I. 37, Exs. 4-9.) In the first three months, Austin received

written complaints from an Administrative Assistant, the Director of Field Instruction, and an

Assistant Professor, who each felt that Grevious had personally attacked them and questioned their

professional competence. (Id., Exs. 4-7.) Another facµlty member requested the president of the

DSU chapter of the American Association of University Professors to intervene after Grevious

instructed her "not to send any emails to any faculty member, staff member, or student without

[her] prior approval." (Id., Ex. 9.) In total, Grevious recommended that the Department terminate

five employees: two recently-hired faculty members·, two staff members, and a department

consultant. (D.I. 38, Ex. 1at40:24-41:11; D.I. 37, Ex. 8.)

       B. Informal Complaints to Provost

       On January 20, 2011, Grevious asked to schedule a meeting with Thompson concerning

Austin's "interference with departmental governance." (D.I. 37, Ex. 11.) She claimed that Austin

had mounted a campaign to have her removed as Chairperson. (Id.) On January 25, Grevious

requested a meeting with Associate Provost Bradley Skelcher. (Id., Ex. 12.) In her email, she

claimed that Austin's denial of her travel request form was "further proof that Dr. Austin is




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working an agenda to undermine the effectiveness of [her] role as department chair." (Id.) Grevious

did not make any mention of gender or race discrimination in her January 20 or 25 messages.

        On January 27, Grevious sent Thompson another email complaining about Austin's

"unilateral and arbitrary management style." (Id., Ex. 13.) She claimed she had "experienced some

retaliation" as a result of her attempts to discuss her concerns with Austin. When she tried to

discuss the issues with him, Austin allegedly responded that "his management style was meant to

stop back biting among women, especially Black women." (Id.) Thompson replied that he

regretted the conflicts between Grevious and Austin, and that the behavior Grevious complained

of was "not acceptable for a senior administrator." (Id.) He met with Grevious on January 31. (D.I.

42, Ex. I.)

        On February 14, Tp.ompson met with Austin to discuss Grevious' concerns. (see id., Ex.

J.) The next day, Austin completed a Chairperson Evaluation for Grevious. (Id., Ex. K.) Grevious

felt the evaluation was inconsistent with her actual performance and "full of personal

misrepresentation and lies.'~ (Id., Ex. M.) After she met with him to discuss the evaluation, Austin

submitted a revised, more positive evaluation on February 16. (Id., Ex. Cat 65:20-66:9; Ex. L.)

On February 17, Thompson told Grevious that Austin had denied making inappropriate comments,

but Thompson "encourage[d] him to always be very professional with [her] and other faculty and

staff going forward." (Id., Ex. I.)

        In a series of emails between February 8 and February 16, Grevious asked Thompson to

intervene in the upcoming faculty vote on whether to remove her as Chairperson. (Id., Ex. 14.)

Grevious again claimed that Austin was manipulating the election by asking faculty members to

vote against her "without justified reasons, except to retaliate against [her]." (Id.) She repeated her

concerns with "Dr. Austin making inappropriate derogatory ethnic comments" and also claimed



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 that Austin had "misappropriated departmental funds." (Id.) She said the "retaliation" from Austin

 had "escalated," resulting in a Chairperson evaluation "that ignored all the work that [she had]

 done for the department." (Id.) Thompson declined to intervene in the election (id.), and on

 February 16, the faculty voted 5-4 to replace her as Chairperson. (Id., Ex. A at 22:22-23:5.)

          C. Formal Grievances

          On February 23, Grevious filed a formal grievance against Austin with the Office of the

 Provost alleging, among others things, that Austin retaliated against her for reporting sexual

 harassment by giving her a bad Chairperson evaluation. (Id., Ex. N.) On March 22, the Office of

 the Provost closed its investigation, finding "no evidence of retaliatory action on Dr. Austin's

 behalf having seen no evidence to substantiate the claim." (Id., Ex. P.) On April 1, Grevious

 received a formal offer for a renewable contract. (Id., Ex V.)

          On April 14, Grevious filed a Sexual Harassment and Retaliation complaint with Human

 Resources ("HR"). (Id., Ex. R.) Her nine-page complaint largely outlined disagreements and

. disputes regarding Austin's management style and interference with her execution of her Chair

· duties. She repeated her earlier claims regarding Austin's derogatory statements about Black

 women, 1 and claimed that he had undermined her and retaliated against her for "doing [her] job"

 because she "complained about his sexual harassment and retaliation." (Id.) She met with HR on

 May 3. (Id., Ex. A at 84:7-16.) The same day, Grevious was notified that by Thompson that DSU

 was dismissing her as Chairperson, effective May 6. (Id., Ex. S.) This prematurely terminated her

 appointment, which would have ended when the newly elected Chairperson was set to assume the

 position on June 1. (Id., Ex. T.) She maintained her Chairperson salary until June 1. (Id., Ex. S.)


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   In her deposition, Grevious also claimed that Austin referred to her as "sugar," told her he could get her tenure, and
 on multiple occasions made comments such as "black women can't be trusted, that black women aren't qualified to
 make decisions, that black women aren't able to bring legitimate issues to the table." (D.I. 42, Ex. A at 59:10-15,
 62:9-24.) These specific complaints were not outlined in any of her written complaints to the university.

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       On May 20, 2011, Grevious filed a Charge of Discrimination with the EqualEmployment

Opportunity Commission ("EEOC"). (D.I. 37, Ex. 16.) She claimed that after her complaints to

Thompson "about the demeaning comments that Dr. Austin made about women, Black women in

particular," Austin "initiated a series of hostile actions to undermine [her] leadership and success

as Chair." (Id.) The Defendants became aware of the EEOC Charge around June 2011. (D.I. 42,

Ex. B at 9.) On June 21, 2011, Grevious received a revised, terminal employment contract. (Id.,

Ex. W.) When she received the contract, she emailed DSU President Harry Williams, asking why

she had received a terminal contract in light of her "outstanding" performance as an Associate

Professor. (Id., Ex. X.) She was referred to Thon::ipson, and asked him the "basis for revoking a

contract that has already been issued and signed by all parties .... With all things considered, it

appears punitive." (Id., Ex. Y.)

       Grevious claims that Thompson told her that her contract was revised "in retaliation for

filing the EEOC complaint, May 24, 2011, and not for anything related to teaching, service or

scholarship." (Id., Exs. Z-bb.) Thompson, on the other hand, claims he met with her to give her

the opportunity "to present any supporting documentation to indicate that she met or exceeded

professional competence in teaching, research, or professional service." (D.I. 37, Ex. 20.) After

reviewing her documentation, he found "in terms of research and teaching she met at least the

minimum standards," but "in terms of service she has consistently displayed an inability to work

collegially with her direct reports, peers, and the persons that she reports to; this feedback was

consistent across all levels." (Id.) Thompson claims his recommendation for a terminal contract

was based on this documented interpersonal conflict. (Id.) Austin was not involved in the decision

to offer Grevious a terminal contract. (D.I. 38, Ex. 1at66:10-18.)




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       On August 4, the HR notified Grevious that it was closing its investigation into her sexual

harassment claims because nobody corroborated her allegations of inappropriate comments by

Austin. (D.I. 37, Ex. 17.) Furthermore, during the investigation "most of the information [she]

shared actually had to do more with the academic practices of the Social Work Department and

staff operations, rather than the allegations of the initial complaint." (Id.) On September 28,

Grevious filed a second EEOC Charge based on the issuance of the terminal contract. (D.I. 42, Ex.

oo.)

III.   STANDARD OF REVIEW

       Summary judgment is appropriate "if the pleadings, depositions, answers to

interrogatories, and admissions on file, together with the affidavits, if any, show that there is no

genuine issue as to any material fact and that the moving party is entitled to a judgment as   ~matter


oflaw." FED. R. Crv. P. 56(c); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The

moving party bears the burden of proving that no genuine issue of material fact exists. Matsushita

Elec. Indus. Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 585 n.10 (1986). A fact is material if it

"could affect the outcome" of the proceeding. Lamont v. New Jersey, 637 F.3d 177, 181 (3d Cir.

2011). There is a genuine issue "if the evidence is sufficient to permit a reasonable jury to return

a verdict for the non-moving party." Id. When determining whether a genuine issue of material

facts exists, the district court must view the evidence in the light most favorable to the nonmoving

party and draw inferences in that party's favor. Wishkin v. Potter, 476F.3d180, 184 (3d Cir. 2007).

If the moving party is able to demonstrate an absence of disputed material facts, the nonmoving

party must then "come forward with 'specific facts showing that there is a genuine issue for trial.'"

Matsushita, 475 U.S. at 587 (citing FED. R. Crv. P. 56(e)).




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        The mere existence of some evidence in support of the nonmoving party will not be

sufficient for denial of a summary judgment motion. Anderson v. Liberty Lobby, Inc., 477 U.S.

242, 249 (1986). Rather, the nonmoving party must present enough evidence to enable a jury to

reasonably find for it on that issue. Id. The party opposing summary judgment must present more

than just "mere allegations, general denials, or ... vague statements" to show the existence of a

genuine issue. Quiroga v. Hasbro, Inc., 934 F.2d 497, 500 (3d Cir. 1991). As such, a nonmoving

party must support their assertion that a material fact is in dispute by: "(A) citing to particular parts

of materials in the record, including depositions, documents, electronically stored information,

affidavits or declarations, stipulations (including those made for purposes of the motion only),

admissions, interrogatory answers, or other materials"; or "(B) showing that the materials cited do

not establish the absence or presence of a genuine dispute, or ~hat an adverse party cannot produce

admissible evidence to support the fact." FED. R. CIV. P. 56(c)(l). The moving party is entitled to

judgment as a matter of law if the nonmoving party fails to make a sufficient showing on an

essential element of its case for which it has the burden ofpro9f. Celotex, 477 U.S. at 322.

IV.     DISCUSSION

       A. Title VII and § 1981 Framework

        Title VII provides that "it shall be an unlawful employment practice for an employer to

discriminate against any of his employees ... because [the employee] has opposed any practice

made an unlawful employment practice by this subchapter." 42 U.S.C. § 2000e-3(a). Section 1981

also prohibits retaliation for complaints of illegal discrimination. See, e.g., Daughtry v. Family

Dollar Stores, Inc., 819 F.Supp.2d 393, 403 (D. Del. 2011). The substantive elements of a claim

under§ 1981 are generally identical to a claim under Title VII. Brown v. Kaz, Inc., 581F.3d175,

181-82 (3d Cir. 2009). The court will treat these claims jointly.



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       A plaintiffs retaliation claims under Title VII and § 1981 are analyzed under the

McDonnell Douglas burden-shifting framework. See McDonnell Douglas Corp. v. Green, 411

U.S. 792 (1973). Under this framework, a plaintiff is first required to establish a prima facie case

of retaliation: "(1) protected employee activity; (2) adverse action by the employer either after or

contemporaneous with the employee's protected activity; and (3) a causal connection between the

employee's protected activity and the employer's adverse action." Kachmar v. SunGard Data Sys.,

109 F.3d 173, 177 (3d Cir. 1997); see McDonnell Douglas, 411 U.S. at 802. If the plaintiff meets

this burden, the burden then shifts to the defendant to articulate one or more legitimate,

nondiscriminatory reasons for its actions. McDonnell Douglas, 411 U.S. at 802. If the defendant

produces sufficient reasons for its actions, the plaintiff is then required to demonstrate that the

defendant's asserted rationale   i~   pretextual. Id. If the plaintiff cannot carry this burden, the

defendant is entitled to summary judgment. Id.

       B. Grevious Has Failed to Establish a Prima Facie Case of Retaliation

       In order to establish a pri}na facie case of retaliation, a plaintiff must show that: (1) the

plaintiff engaged in activity protected by Title VII; (2) the plaintiff suffered an adverse

employment decision; and (3) there was a causal connection between the protected activity and

the adverse employment decision. Fasold v. Justice, 409 F.3d 178, 188 (3d Cir. 2005). "A

defendant may defeat the claim ofretaliation by showing that it would have taken the same action

·even if the plaintiff had not engaged in the protected activity." Lauren W ex. rel. Jean W v.

DeFlaminis, 480 F.3d 259, 267 (3d Cir. 2007).

       The parties do not dispute that Grevious has satisfied the first two elements of the prima

facie case. Grevious engaged in protected activity when she filed harassment and discrimination

complaints against Austin to the Provost's Office, HR, and the EEOC. Grevious suffered at least



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two adverse employment decisions when she was 1) removed as Chairperson and 2) ,offered a

terminal contract. The parties' disagreement centers on whether or not Grevious can successfully

establish the third element, causation.

       Grevious argues that the timing between her complaints and the adverse employment

actions is evidence of retaliation by the Defendants. Close temporal proximity between an

employee's protected activity and the alleged retaliatory action may provide an inference of

causation where the timing is unusually suggestive of retaliatory motive. Shaner v. Synthes, 204

F.3d 494, 505 (3d Cir. 2000). But a plaintiff must still prove retaliation using but-for causation,

which "requires proof that the unlawful retaliation would not have occurred in the absence of the

alleged wrongful action or actions of the employer." Univ. of Texas Sw. Med. Ctr. v. Nassar, 133

S.Ct: 2517, 2533 (2013).

       Grevious fails to show any causal link between her protected activity and Austin's actions.

Her relationship with Austin had soured before she ever reported harassment. She first reported

antag~mism from Austin on Ja.lluary 20, 2011. She then complained that she was experiencing

"retaliation" from Austin on January 27, which was the date of her first mention of harassment.

Any retaliation she faced on January 27 predated her Title VII protected activity and seems to have

centered on her conflicts with Austin and his management style. Throughout her complaints,

Grevious echoed many of the same concerns with Austin's "interference with departmental

governance." It is clear that Grevious and Austin had many disagreements regarding leadership in

the department, but the aftermath of such disputes does not rise to unlawful retaliation. Because

Grevious complained of retaliation from Austin before he learned of her informal complaints, it is

difficult to characterize his actions as unlawful retaliation.




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       One form of retaliation Grevious claims occurred after her complaints is the negative

Chairperson evaluation she received from Austin on February 15. It is true that Austin met with

Thompson concerning her harassment allegations the day before. But the timing of this evaluation

is not "unusually suggestive" of retaliation. As early as January 20, Grevious claimed that Austin

had launched a campaign to remove her as Chairperson. If her allegations are taken as true, a

negative evaluation would be squarely in line with Austin's desire for her removal. Thus, his

animus predated her harassment claims.

       Grevious also fails to establish causation for the Defendants' other adverse employment

decisions. Grevious first complained of harassment on January 27, 2011. She filed a complaint

with HR on April 14, and an EEOC Charge on May 20. On May 3, she was informed that her term

as Chairperson was being cut short. Over three months passed between her first harassment

complaint against Austin and the termination of her Chairperson position. This relatively extended

period does not lead to a strong inference of retaliation. Further, the faculty had voted her out in

February, making it even more difficult for Grevious to prove that the Defendants would not have

removed her as Chairperson "but for" her complaints. Grevious points to the fact that her meeting

with HR and her early dismissal as Chairperson coincide-both occurred on May 3. Unfortunately

for her, even taking all assumptions in her favor, no reasonable jury could find this was more than

coincidence. Grevious provides no evidence that Thompson or Austin knew she was meeting with

HR on May 3, or that they had even received notice of her HR complaint. Without evidence of

knowledge on the part of the Defendants, Grevious cannot prove causation.

       On June 21, Grevious received a revised terminal contract. Austin was not involved in this

decision. By this time, almost five months had passed since her first harassment complaint,

rendering extremely tenuous any causation based on temporal proximity. Again, conveniently,



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Grevious would like the court to draw a connection not to the date of her first complaint (or any

of her numerous subsequent complaints), but to the date the Defendants received notice of the

EEOC complaint, which was sometime in June. Grevious also claims that Thompson personally

told her that she received the terminal complaint in retaliation for the EEOC complaint. Grevious

lacks corroboration for this allegation. Further, Defendants Thompson and DSU offer a non-

retaliatory explanation for their decision. A contemporaneous memorandum from Thompson

(which was written before the conversation in which he allegedly told Grevious he was retaliating)

indicates that the terminal contract was received because of her "inability to work collegially" with

others. (D.I. 37, Ex. 20.)

           To raise an issue for trial, Grevious must demonstrate that Thompson's explanation

contains "weaknesses, implausibilities, inconsistencies, or contradictions" sufficient for .a

reasonable juror to conclude that it is a pretext for retaliation. Rumanek v. Indep. Sch. Mgmt., Inc.,

50 F. Supp. 3d 571, 581 (D. Del. 2014) (quotingZannKwan v. Anda/ex GroupLLC, 737 F.3d 834,

846 (2d Cir. 2013)). Grevious fails to do so here. Thompson's explanation is supported by ample

evidence on the record that Grevious had many quarrels with her coworkers during her short time

at DSU. These conflicts predated any claims of harassment or discrimination. As a matter oflaw,

Grevious cannot show that her harassment complaints were the but-for cause of the Defendants'

actions.

V.         CONCLUSION

       For the reasons stated above, the court will grant the Defendants' Motion for Summary

Judgment (D.I. 35.)




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Dated: September'-12, 2015




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